           Case 5:20-cv-01138-J Document 20 Filed 12/28/20 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF OKLAHOMA

ANTHONY P. TUFARO,                               )
                                                 )
               Plaintiff,                        )
                                                 )
v.                                               )      Case No. CIV-20-1138-J
                                                 )
STATE OF OKLAHOMA,                               )
ex rel. THE BOARD OF REGENTS FOR                 )
THE UNIVERSITY OF OKLAHOMA, et al.,              )
                                                 )
               Defendants.                       )

                                           ORDER

       Before the Court is Defendant Kevin S. Smith’s and Defendant Paul S. Tiwana’s motion

for leave to amend or correct their motion to dismiss, which Plaintiff does not oppose. [Doc. Nos.

18, 19]. Upon review and for good cause shown, Defendants’ motion is GRANTED. Defendants

Smith and Tiwana may amend or correct their motion to dismiss [Doc. No. 7] within 14 days of

this order. Within 21 days thereafter, Plaintiff may file an amended combined response to

Defendants’ Motions to Dismiss (including, without alteration, previously filed responses to

Docket Numbers 5 and 6), with an additional page allowance of 5 pages, if necessary (i.e., not to

exceed 35 pages). And within seven days of Plaintiff’s amended filing, Defendants Smith and

Tiwana may file an amended reply.

       IT IS SO ORDERED this 28th day of December, 2020.
